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15
                          IN THE UNITED STATES DISTRICT COURT
16
                              FOR THE DISTRICT OF ARIZONA
17                                                                                                .   .
     United States of America,                  No.        CR-25-00882-PHX-DWL ( ESW)
18
                          Plaintiff,
19                                                      INDICTMENT
             vs.
20                                              VIO:    18 U.S .C. § 1349
                                                        (Conspiracy)
21   Farrukh Jarar Ali,                                 Count 1
22                        Defendant.                    18 U.S.C. §§ 1343, 2
                                                        (Wire Fraud)
23                                                      Counts 2-4
24                                                      18 U.S.C. §§ 1957, 2
                                                        (Transactional Money Laundering)
25                                                      Count 5
26                                                         18 U.S.C., 981
                                                           18 U.S.C. 982
27                                                         21 U.S.C. 853
                                                           28 U.S.C. 246l(c)
28                                                         Forfeiture Allegations
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 1   THE GRAND JURY CHARGES:
 2             At all times material to this indictment, within the District of Arizona and elsewhere:
 3                                          INTRODUCTION
 4             1.       Between on or about April 1, 2021 , and on or aboutJuly 1, 2023, FARRUKH
 5   JARAR ALI, acting primarily though his Pakistan-based company, ProMD Solutions LLC
 6   ("ProMD"), falsely and fraudulently billed the Arizona Health Care Cost Containment
 7   System ("AHCCCS") approximately $650 million for behavioral healthcare services
 8   purportedly provided by outpatient treatment centers, to include but not limited to
 9   outpatient treatment centers Tusa Integrated Clinic LLC ("TUSA"), owned and operated
10   by Rita Anagho; Community Hope Wellness Center LLC ("CHWC"), owned and operated
11   by Daud Koleosho and Adam Mutwol; and Company 1 Counseling LLC ("Company l "),
12   owned and operated by Individual 2. ALI primarily targeted AHCCCS ' s American Indian
13   Health Program ("AIHP"), among other programs, and billed AHCCCS for services that
14   were never provided and not provided as represented.
15                  Background on the Arizona Health Care Cost Containment System
16             2.       AHCCCS was Arizona's Medicaid agency that offered health care programs
17   to Arizona residents. AHCCCS contracted with several health plans to provide covered
18   services and worked with medical providers, such as doctors, hospitals, pharmacies,
19   specialists, and counselors, to provide care for AHCCCS members . Covered services
20   included, among other services, behavioral health counseling services, such as counseling
21   and substance abuse treatment.
22             3.       AHCCCS administered Medicaid health care programs to Arizona residents.
23   The federal government paid states, including Arizona, for the majority of Medicaid
24   program expenditures. Among other programs and plans, AHCCCS provided care through
25   AIHP, through which AHCCCS-enrolled Native Americans could receive health care
26   services, including preventive and behavioral health care services, on a fee-for-service
27   basis .
28


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 1          4.     All medical providers who served AHCCCS members were required to be
 2   screened and enrolled as an approved provider before AHCCCS paid the provider for
 3   medical services provided to its members. For a medical professional to become a provider
 4   in the AHCCCS program, the provider must have truthfully and accurately completed a
 5   provider enrollment paperwork package and submitted it to AHCCCS.                Officials at
 6   AHCCCS reviewed such applications and, if they approved the application, the medical
 7   provider was then permitted to begin providing medical services to AHCCCS members
 8   and receive payments from AHCCCS for medical services rendered.
 9          5.     As part of their AHCCCS application, providers must have filled out and
10   signed a provider participation agreement that included a certification in which they agreed
11   to abide by all laws, regulations, and policies governing AHCCCS. Rita Anagho filled out
12   and signed the provider participation agreement and certification for TUSA, which was
13   submitted on or about July 13 , 2022 . Daud Koleosho filled out and signed the provider
14   participation agreement and certification for CHWC, which was submitted on or about July
15   18, 2022.   Adam Mutwol signed a separate provider participation agreement for an
16   additional CHWC location on or about January 19, 2023. Individual 2 filled out and signed
17   the provider participation agreement and certification for Company 1, which was submitted
18   on or about September 29, 2022 .
19          6.     After an approved AHCCCS provider provided services to an AHCCCS
20   member, the provider typically submitted a claim for payment through an online portal
21   operated by AHCCCS . As part of such a claim submission, AHCCCS required the
22   provider to disclose the dates services were provided, codes that reflect the type of services
23   provided, as well as the total amount of reimbursement sought by the provider.
24          7.     AHCCCS typically paid its providers either by check or by electronically
25   transmitting funds to a bank account.
26          8.     AHCCCS required providers to be registered. TUSA was registered under
27   AHCCCS Provider ID ending x9406 and National Provider ID ending x4763. CHWC was
28   registered under AHCCCS Provider ID ending in x4384 and National Provider ID ending


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 1   in x364 l , with its additional location registered under AHCCCS Provider ID ending in
 2   x2926 and National Provider ID ending in x9367.        Company 1 was registered under
 3   AHCCCS Provider ID ending in x6044 and National Provider ID ending in x6608.
 4          9.     AHCCCS was a "health care benefit program," as defined in Title 18, United
 5   States Code, Section 24(b), and a "Federal health care program," as defined in Title 42,
 6   United States Code, Section 1320(a)-7b(f).
 7          10.    AHCCCS-covered services, including behavioral health services, must have
 8   been medically necessary, cost effective, federally reimbursable, and state reimbursable.
 9   Arizona Administrative Code R9-22-202.
10          11.    Outpatient behavioral health services were behavioral health services
11   provided by an outpatient treatment center ("OTC"). OTCs were health care institutions
12   without inpatient beds that provided physical health services or behavioral health services
13   for the diagnosis and treatment of patients. Arizona Administrative Code R9-l 0-101.
14          12.    OTC services included therapy in the form of intensive outpatient services
15   ("IOP") and outpatient services ("OP"). IOP and OP patients attended facilities on an
16   ongoing basis where treatment was rendered, generally in the form of group and individual
17   therapy sessions. The distinction among the two different treatment plans relates to, among
18   other things, the amount of therapy time on a daily or weekly basis.
19                                        The Defendant
20          13.    F ARRUKH JARAR ALI resided outside the United States, in Pakistan and
21   the United Arab Emirates. ALI owned and directed the operations of ProMD and was
22   listed as the statutory agent for TUSA on its application to be licensed as an OTC with the
23   Arizona Department of Health Services.
24                              Individuals and Entities Involved
25          14.    ProMD was organized in Arizona on or about August 5, 2021, but operated
26   from Pakistan. According to its website, ProMD provided credentialing and enrolling,
27   medical coding, and billing services for medical practices. ProMD provided such services
28


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 1   for TUSA, CHWC, and Company 1 during the period of the conspiracy, and was listed as
 2   the statutory agent for TUSA in its formation documents.
 3          15.   Individual 1 was employed by ProMD.
 4          16.   Rita Anagho resided in Arizona. Anagho directed the day-to-day operations
 5   ofTUSA.
 6         17.    TUSA, an OTC, was organized in Arizona on or about May 20, 2022, as a
 7   domestic LLC providing "Health Care and Social Assistance." Rita Anagho was listed in
 8   the Arizona Corporation Commission documents as the sole member, principal, and
 9   organizer of TUSA. The address for TUSA was listed as **** South Rural Road, Tempe,
10   Arizona, 85282.
11         18.    TUSA applied to the Arizona Department of Health Services for a license as
12   an OTC on or about May 20, 2022, and this application was received on or about June 3,
13   2022. Rita Anagho was listed as the Chief Administrative Officer for TUSA on this
14   application. Rita Anagho signed this application as TUSA' s owner. TUSA was licensed
15   as an OTC effective on June 28, 2022.
16         .19.   Daud Koleosho and Adam Mutwol resided in Arizona and directed the day-
17   to-day operations of CHWC .
18         20.    CHWC, an OTC, was organized in Arizona on or about March 18, 2022, as
19   a domestic LLC providing "Health Care and Social Assistance." Daud Koleosho and
20   Adam Mutwol were listed in the Arizona Corporation Commission documents as managers
21   and organizers of CHWC. The address for CHWC was listed as**** East Pollack Street,
22   Phoenix, Arizona, 85042.
23         21.    CHWC applied to the Arizona Department of Health Services for a license
24   as an OTC at its Phoenix address on or about June 9, 2022. Daud Koleosho was listed as
25   the CHWC Chief Administrative Officer, and Adam Mutwol was listed as the CHWC
26   Statutory Agent on this application. CHWC was licensed as an OTC effective on June 29,
27   2022. CHWC subsequently applied for a license as an OTC for a Mesa, Arizona location
28   on or about October 20, 2022.       Daud Koleosho was listed as the CHWC Chief


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           I   Administrative Officer and Statutory Agent on this application. CHWC was licensed as
           2   an OTC at the Mesa address effective on November 30, 2022 .
           3         22.    Individual 2 resided in Arizona and owned, operated, and directed the day-
           4   to-day operations of Company 1.
           5         23.    Company 1, an OTC, was organized in Arizona on or about August 9, 2022,
           6   as a domestic LLC providing "Health Care and Social Assistance." Individual 2 was listed
           7   in the Arizona Corporation Commission documents as the statutory agent and member of
           8   Company 1.
           9         24.    Company I applied to the Arizona Department of Health Services for a
          10   license as an OTC to operate at**** North 16th Street, Suite*** Room ***, Phoenix,
          11   Arizona 85020. Company 1 was licensed as an OTC effective on September 6, 2022.
         12                       Investigation into Widespread AHCCCS Fraud
         13          25 .   The AHCCCS Office of Inspector General ("OIG") began investigating a
         14    widespread fraud scheme in which OTCs recruited Native Americans and other individuals
         15    to exploit the AIHP under AHCCCS . Because it was easier to enroll as a provider with
         16    AIHP than some other AHCCCS insurance programs, and because AIHP's reimbursement
         17    rates for certain behavioral health services were sometimes higher than those of other
         18    programs, these OTCs preferred patients who were enrolled in AIHP. In some cases, these
         19    OTCs identified potential patients and enrolled the patients in AIHP or had the patients
         20    switch their existing AHCCCS insurance plan to AIHP, regardless of whether the patient
         21    was Native American.
         22                               Funds Received from AHCCCS
         23          26.    TUSA's corporate bank accounts for the relevant period were three J.P.
         24    Morgan Chase accounts ending x2208, x2216, and x3092, and one Bank of America
         25    account ending x3081. Bank records for TUSA's corporate accounts show deposits of
         26    approximately $55.4 million in income from AHCCCS programs during the relevant
         27    period. Rita Anagho and one other TUSA employee were the sole signatories on these
         28


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 1   bank accounts, and Rita Anagho beneficially owned and controlled, directly and indirectly,
 2   the payments received from AHCCCS.
 3          27.   CHWC's corporate bank accounts for the relevant period were Bank of
 4   America accounts ending in x0 106, x0203, and x0326, and Arizona Financial Credit Union
 5   accounts ending in x0009 and x9950. Bank records for CHWC ' s corporate accounts show
 6   deposits of approximately $51 .6 million from AHCCCS programs during the relevant
 7   period. Daud Koleosho and Adam Mutwol were signatories on these bank accounts and
 8   beneficially owned and controlled, directly and indirectly, the payments received from
 9   AHCCCS, which they evenly divided between themselves.
           28 .   Company l's corporate bank account for the relevant period was a Bank of
11   America account ending in x2381. Bank records for Company l ' s corporate account show
12   deposits of approximately $36.7 million from AHCCCS programs during the relevant
13   period. Individual 2 and his wife were the signatories on Company l's corporate bank
14   account and beneficially owned and controlled, directly and indirectly, the payments
15   received from AHCCCS.
16         29.    ProMD maintained multiple corporate bank accounts, to include Brex, Inc.
17   accounts ending in x3362 and x7382 . Bank records for ProMD ' s Brex, Inc. accounts show
18   deposits of approximately $25 million during the relevant period from various OTCs that
19   used ProMD to bill AHCCCS.        ALI was the signatory on these bank accounts, and
20   beneficially owned and controlled, directly and indirectly, the payments received from
                                                                                      I


21   approximately 41 OTCs, including TUSA, CHWC, and Company 1.
22                                         COUNT 1
                                           Conspiracy
23
                                         (18 u.s.c. § 1349)
24
           30.    The factual allegations above are incorporated for Count 1.
25
           31.    Beginning at a time unknown to the grand jury, but at least as early as on or
26
     about April 1, 2021 , and continuing through on or about July 1, 2023 , in the District of
27
     Arizona and elsewhere, Defendant FARRUKH JARAR ALI, Individual 1, Rita Anagho,
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 1   Daud Koleosho, Adam Mutwol, and Individual 2, individually and doing business under
 2   the entities described above, along with other individuals and entities known and unknown
 3   to the grand jury, knowingly and willfully agreed and conspired with each other and others
 4   to commit the following offenses against the United States: wire fraud, in violation of 18
 5   U.S.C. § 1343; and health care fraud, in violation of 18 U.S.C. § 1347.
 6                                    Purpose of the Conspiracy
 7          32.     It was a purpose of the conspiracy for the Defendant, Individual 1, Rita
 8   Anagho, Daud Koleosho, Adam Mutwol, and Individual 2, and their co-conspirators to
 9   unjustly enrich themselves by, among other things: (a) submitting and causing the
10   submission of false and fraudulent claims to AHCCCS; (b) concealing the submission of
11   false and fraudulent claims to AHCCCS, and the receipt and transfer of fraud proceeds ;
12   and (c) diverting the fraud proceeds for their personal use and benefit, the use and benefit
13   of others, and to further the fraud .
14                       Manner and Means of the Conspiracy and Scheme
15          33.     The manner and means used by FARRUKH JARAR ALI, Individual 1, Rita
16   Anagho, Daud Koleosho, Adam Mutwol , Individual 2, and others, individually and through
17   the entities described above, to effect the objects of the conspiracy and scheme to defraud ,
18   included the following:
19                  a.     F ARRUKH JARAR ALI established, operated, and controlled
20          ProMD, which was purportedly in the business of establishing and credentialing
21          OTCs, and medical billing. Individual 1 acted as FARRUKH JARARALI's liaison
22          with OTCs and managed communications with the OTCs.
23                  b.     Rita Anagho established, operated, and controlled TUSA; Daud
24          Koleosho and Adam Mutwol established, operated, and controlled CHWC; and
25          Individual 2 established, operated, and controlled Company 1. Each of these OTCs
26          were purportedly in the business of providing addiction treatment services for
27          persons suffering from alcohol and drug addiction.
28


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 1              C.     To obtain and retain patients for TUSA, CHWC, and Company 1
 2       whose insurance, including AHCCCS, could be billed for substance abuse treatment
 3       services, Rita Anagho, Daud Koleosho, Adam Mutwol, Individual 2, and their co-
 4       conspirators offered and paid illegal kickbacks and bribes to owners of residences
 5       that housed substance abuse treatment patients, in exchange for these residence
 6       owners referring patients for treatment to TUSA CHWC, and Company 1. Many of
 7       the patients recruited for TUSA, CHWC, and Company 1 in this manner were
 8       Native Americans and/or other individuals who were enrolled in AIHP.
 9              d.     Rita Anagho, Daud Koleosho, Adam Mutwol, Individual 2, and their
10       co-conspirators paid illegal kickbacks and bribes that varied based on the volume
11       and value of the referred patients, including paying more money to the residence
12       owners in exchange for patients with AIHP insurance compared to patients with
13       other plans because the reimbursement from AHCCCS for these patients was
14       generally higher.
15              e.     FARRUKH JARAR ALI, Individual 1, and others at ProMD entered
16       into agreements with the OTCs owned and operated by Rita Anagho, Daud
17       Koleosho, Adam Mutwol, and Individual 2, namely TUSA, CHWC, and Company
18        1, in which ProMD agreed to bill AHCCCS for addiction treatment services billed
19       by these OTCs purportedly provided to addiction treatment patients, many of them
20       enrolled in AIHP, in exchange for 5% of the amounts paid by AHCCCS to TUSA,
21       CHWC, and Company 1.        FARRUKH JARAR ALI, through ProMD, reached
22       similar agreements with approximately 40 other OTCs in the Phoenix, Arizona area.
23              f.     F ARRUKH JARAR ALI, Individual 1, Rita Anagho, Daud Koleosho,
24       Adam Mutwol, Individual 2, and their co-conspirators submitted and caused others
25       to submit, via interstate wire communications, false and fraudulent claims to
26       AHCCCS for behavioral health substance abuse treatment therapy services that
27       were not provided, were not provided as billed, were not provided by qualified
28


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 1        personnel, were so substandard that they failed to serve a treatment purpose, were
 2        not used or integrated into any treatment plan, and/or were medically unnecessary.
 3              g.     FARRUKH JARAR ALI, Individual 1, Rita Anagho, Daud Koleosho,
 4        Adam Mutwol , Individual 2, and their co-conspirators falsified and altered, and
 5        caused the falsification and alteration, of therapy notes reflecting that patients
 6        attended therapy when they did not and/or reflecting that therapy was provided
 7        when it was not.
 8              h.     FARRUKH JARAR ALI, Individual 1, Rita Anagho, and their co-
 9        conspirators submitted and caused the submission to AHCCCS, via interstate wire
10        communications, of false and fraudulent claims in the amount of approximately
11        $69,692,496 for TUSA services that were procured through the payment of illegal
12        kickbacks and bribes, medically unnecessary, ineligible for reimbursement, and not
13        provided as represented. AHCCCS paid the approximate amount of $55 ,368,889 to
14        TUSA' s corporate accounts for these false and fraudulent claims.
15              1.     FARRUKH JARAR ALI, Individual 1, Daud Koleosho, Adam
16        Mutwol, and their co-conspirators submitted and caused the submission of false and
17        fraudulent claims, to AHCCCS, via interstate wire communications, in the amount
18        of approximately $57,737,196 for CHWC services that were procured through the
19        payment of illegal kickbacks and bribes, medically unnecessary, ineligible for
20        reimbursement, and not provided as represented. AHCCCS paid the approximate
21        amount of $51,666,140 to CHWC ' s corporate accounts for these false and
22        fraudulent claims.
23              J.     FARRUKH JARAR ALI, Individual 1, Individual 2, and their co-
24        conspirators submitted and caused the submission of false and fraudulent claims, to
25        AHCCCS, via interstate wire communications, in the amount of approximately
26        $44,920,644 for Company 1 services that were procured through the payment of
27        illegal kickbacks and bribes, medically unnecessary, ineligible for reimbursement,
28        and not provided as represented.     AHCCCS paid the approximate amount of


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 1          $36,678,016 to Company l ' s corporate account for these false and fraudulent
 2          claims.
 3                    k.    In the same manner, through approximately 38 additional OTCs for
 4          which ProMD served as the biller, in addition to the OTCs of TUSA, CHWC, and
 5          Company 1, FARRUKH JARARALI, submitted and caused the submission of false
 6          and fraudulent claims, to AHCCCS via interstate wire communications, in the
 7          amount of approximately $650 million for services that were procured through the
 8          payment of illegal kickbacks and bribes, medically unnecessary, ineligible for
 9          reimbursement, and not provided as represented . AHCCCS paid these 41 OTCs
10          approximately $564 million for these false and fraudulent claims.
11   All in violation of 18 U.S.C. § 1349.
                                              COUNTS 2-4
12
                                               Wire Fraud
13                                          (18U.S.C. §§ 1343, 2)
14          34.    The factual allegations above are incorporated for Counts 2-4.
15          35.    Beginning at a time unknown to the grand jury, but at least as early as July
16   I, 2021 , and continuing through at least as late as July 31 , 2023 , in the District of Arizona
17   and elsewhere, FARRUKH JARAR ALI, individually and doing business under the entities
18   described above, along with other individuals and entities known and unknown to the grand
19   jury, aiding and abetting each other, knowingly and willfully devised and intended to
20   devise a scheme and artifice to defraud and to obtain by means of materially false and
21   fraudulent pretenses, representations, and promises, and by intentional concealment of
22   material facts , money and property, through the use of wire communication in interstate or
23   foreign commerce.
24          36.       On or about the dates set forth below, for the purpose of executing the scheme
25   and artifice, F ARRUKH JARAR ALI and others did knowingly transmit and caused be
26   transmitted by means of wire communication in interstate commerce to and from the
27   District of Arizona the signal and sounds described below:
28


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 1                                                  OTC                        Description
      Ct Patient           Date
 2                                                Company 1               Claims Submission to
      2         B.F.     12/10/2022
 3                                                                         AHCCCS for $446
                                                    CHWC                  Claims Submission to
 4    3         A.P.     12/ 13/2022
                                                                           AHCCCS for $669
 5                                                  TUSA                   Claim Submission to
      4         T.Y.    12/15/2022
                                                                          AHCCCS for $1 ,220
 6
 7   All in violation of 18 U.S.C. §§ 1343 , 2.
 8
 9                                                COUNT 5
                                       Transactional Money Laundering
10                                          (18 u.s.c. §§ 1957, 2)
11
            37.        The factual allegations above are incorporated for Count 5.
12
            38.        On or about the date listed below, FARRUKH JARAR ALI, individually and
13
     doing business under the entities described above, along with other individuals and entities
14
     known and unknown to the grand jury, aiding and abetting each other, in the District of
15
     Arizona and elsewhere, knowingly engaged and attempted to engage in the following
16
     transaction in the United States with criminally derived property of a value exceeding
17
     $10,000, derived from specified unlawful activity, namely, wire fraud, in violation of 18
18
     U.S.C. § 1343; health care fraud , in violation of 18 U.S.C. § 1347; and conspiracy to
19
     commit health care fraud and wire fraud , in violation of 18 U.S.C. § 1349:
20
21
                       Approx.          Approx.                      Transaction
22        Count
                        Date            Amount                        (Brex Inc.)
23                                                   FARRUKH JARAR ALI wired the funds to a
24                                                     real estate broker for purchase of a house
            5          3/17/2023       $2,988,000
                                                     located in a golf estate in Dubai, United Arab
25                                                                      Emirates
26
     In violation of 18 U.S.C. §§ 1957, 2.
27
28


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 1                               FORFEITURE ALLEGATIONS
 2          39.    The factual allegations above are incorporated for forfeiture. The grand jury
 3   further realleges and incorporates the allegations of Counts 1 through 5 of this indictment,
 4   which are incorporated by reference as though fully set forth herein.
 5          40.      Pursuant to 18 U.S.C. §§ 981 and 982, 21 U.S.C. § 853 , and 28 U.S.C.
 6   § 2461 (c), upon conviction of one or more of the offenses alleged in Counts 1 through 5
 7   above, Defendant F ARRUKH JARAR ALI shall forfeit to the United States all right, title,
 8   and interest in any and all property, real or personal, involved in such offense(s), or in any
 9   property traceable to such property involved in the offense(s), including the following: (a)
10   all money or other property that was the subject of each transaction or transfer in violation
11   of a statute listed in 18 U.S.C. § 982; (b) all other property constituting proceeds obtained
12   as a result of those violations; and (c) all property used in any manner or part to commit or
13   to facilitate the commission of those violations. Such property includes, but is not limited
14   to, a sum of money equal to at least $24,563 ,434 million in U.S. currency, representing the
15   amount of proceeds ALI was paid in connection with the offenses charged.
16          41.    If any of the forfeitable property, as a result of any act or omission by any
17   Defendant,
18          a.     cannot be located upon the exercise of due diligence,
19          b.     has been transferred, sold to, or deposited with a third party,
20          c.     has been placed beyond the jurisdiction of the court,
21          d.     had been substantially diminished in value, or
22          e.     has been commingled with other property and cannot be divided without
23          difficulty,
24
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26
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 1   it is the intent of the United States to seek forfeiture of any other property of that Defendant
 2   up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).
 3
                                                 A TRUE BILL
 4
 5                                                      //s//
                                                 FOREPERSON OF THE GRAND JURY
 6                                               Date: June 11 , 2025
 7
     TIMOTHY COURCHAINE
 8   United States Attorney
     District of Arizona
 9
10    //s//
     MATTHEW WILLIAMS
11   Assistant U.S . Attorney
12
     LORINDA LARYEA
13   Acting Chief, Fraud Section
     United States Department of Justice
14
15    //s//
     JAMES v. HAYES
16   Assistant Chief
     S.BABUKAZA
17   Trial Attorney
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